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FILED

UNITED STATES DISTRICT COURT™™ _0&/20/o]

MIDDLE DISTRICT OF FLORIDA GIBBIS DISTRICT oF FLORIDA
OCALA DIVISION OCALA, FLORIDA

UNITED STATES OF AMERICA

V. CASE NO. 5:24-cr- ]09-71 PB-PRL
18 U.S.C. § 111(a)(1)
MULLER VEDRINE 18 U.S.C. § 1791(a)(2)
INDICTMENT

The Grand Jury charges:

COUNT ONE

On or about March 10, 2024, in the Middle District of Florida, the defendant,
MULLER VEDRINE,

did knowingly and forcibly assault, resist, oppose, impede, and interfere with a
person, A.G., who is an employee of the United States Federal Bureau of Prisons,
and a person designated in 18 U.S.C. § 1114, while that person was engaged in and
on account of the performance of his official duties, and the act described above did
involve physical contact with the employee.

In violation of 18 U.S.C. § 111(a)(1).

COUNT TWO

On or about March 10, 2024, in the Middle District of Florida, the defendant,
MULLER VEDRINE,
being an inmate of a prison, namely Coleman Federal Correctional Complex,

knowingly possessed a prohibited object, namely, buprenorphine, a Schedule HI
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controlled substance, and a cellular telephone.

In violation of 18 U.S.C. §§ 1791(a)(2), (b)(3), and (b)(4).

A TRUE BILL,

Foreperson

ROGER B. HANDBERG
United States Attorney

| XL NOW

nah J. Nowalk
Assistant United StatesAttorney

Robert E. Bodnar, Jr.
Assistant United States Attorney
Chief, Ocala Division
FORM OBD-34
August 24

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No. 5:24-cr-

UNITED STATES DISTRICT COURT
Middle District of Florida
Ocala Division

THE UNITED STATES OF AMERICA

VS.

MULLER VEDRINE

INDICTMENT

Violations: 18 U.S.C. § 111(a)(1)
18 U.S.C. § 1791(a)(2)

A true bill,

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Filed in open court this 20th day

of August 2024.

GPO 863 525
